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 5

 6   Attorney for Defendant
     LEONARD WALTER
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case No. 2:14-CR-0210-JAM
                                                  )
12                                                )   STIPULATION REGARDING
                            Plaintiff,            )   EXCLUDABLE TIME PERIODS
13                                                )   UNDER THE SPEEDY TRIAL ACT;
             vs.                                  )
14                                                )   FINDINGS AND ORDER
     JAMES CLINE, et al.,                         )
15                                                )   DATE: January 10, 2017
                            Defendants.           )   TIME: 9:15 a.m.
16                                                )   JUDGE: John A. Mendez
                                                  )
17

18           Plaintiff United States of America, by and through Assistant United States

19   Attorney Jason Hitt; defendant Leonard Walter, by and through counsel Scott L.
20
     Tedmon; and defendant James Cline, by and through counsel Danny D. Brace, Jr.,
21
     hereby agree and stipulate as follows:
22
         1. By previous order, this matter was set for status conference on January 10,
23

24           2017 at 9:15 a.m.

25       2. By this stipulation, the parties now move to continue the status conference to
26
             Tuesday, February 28, 2017 at 9:15 a.m., and to exclude time between
27
             January 10, 2017 and February 28, 2017 under Local Code T4.
28




     Stipulation; [Proposed] Findings and Order                     Case No. 2:14-CR-0210-JAM
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 1       3. The parties agree and stipulate, and request the Court find the following:
 2
             a) Counsel for defendant Leonard Walter has recently been appointed to the
 3
                  Sacramento County Superior Court. Defense counsel has been advised
 4
                  Kelly Babineau will be substituting in as attorney for Mr. Walter. Ms.
 5

 6                Babineau will need time to obtain and review the file and prepare the

 7                defense case.
 8
             b) Defense counsel believes the failure to grant the above-requested
 9
                  continuance would deny each defendant reasonable time necessary for
10
                  effective preparation, taking into account the exercise of due diligence.
11

12                Counsel for the government has no objection to this request for additional

13                time to prepare the case.
14
             c) Based on the foregoing, the ends of justice served by continuing the case
15
                  as requested outweigh the best interest of the public and the defendants
16
                  in a speedy trial within the original date prescribed by the Speedy Trial
17

18                Act.

19           d) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
20
                  3161, et seq., within which trial must commence, the time period of
21
                  January 10, 2017 to February 28, 2017, inclusive, is deemed excludable
22
                  pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) [Local Code T4] because it
23

24                results from a continuance granted by the Court at the defendants request

25                on the basis of the Court’s finding that the ends of justice served by taking
26
                  such action outweigh the best interest of the public and defendants in a
27
                  speedy trial.
28




     Stipulation; [Proposed] Findings and Order                         Case No. 2:14-CR-0210-JAM
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       Case 2:14-cr-00210-JAM Document 101 Filed 01/09/17 Page 3 of 3


 1       4. Nothing in this stipulation and order shall preclude a finding that other
 2
             provisions of the Speedy Trial Act dictate that additional time periods are
 3
             excludable from the period within which a trial must commence.
 4
             IT IS SO STIPULATED.
 5

 6   DATED: January 5, 2017                             PHILLIP A. TALBERT
                                                        United States Attorney
 7
                                                        /s/ Jason Hitt
 8
                                                        JASON HITT
 9                                                      Assistant U.S. Attorney

10   DATED: January 5, 2017                             LAW OFFICES OF SCOTT L. TEDMON
11
                                                        /s/ Scott L. Tedmon
12                                                      SCOTT L. TEDMON
                                                        Attorney for Defendant Leonard Walter
13
     DATED: January 5, 2017                             LAW OFFICES OF DANNY D. BRACE, JR.
14

15                                                      /s/ Danny D. Brace, Jr.
                                                        DANNY D. BRACE, Jr.
16                                                      Attorney for Defendant James Cline
17

18
                                        FINDINGS AND ORDER
19

20
             IT IS SO FOUND AND ORDERED.
21
     DATED: January 6, 2017
22
                                                  /s/ John A. Mendez___________
23
                                                  JOHN A. MENDEZ
24                                                United States District Court Judge

25

26

27

28




     Stipulation; [Proposed] Findings and Order                             Case No. 2:14-CR-0210-JAM
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